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NO. 21-56056


                  UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT


                          JAMES HUNTSMAN

                         Plaintiff and Appellant,

                                      v.

            CORPORATION OF THE PRESIDENT OF
              THE CHURCH OF JESUS CHRIST
                 OF LATTER-DAY SAINTS

                        Defendants and Appellees.

                 APPEAL FROM U.S. DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES
                 D.C. NO. 2:21-CV-02504-SVW-SK
                     HON. STEPHEN V. WILSON

                 APPELLANT’S OPENING BRIEF



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I.   INTRODUCTION AND SUMMARY OF ARGUMENT

     The core issue presented in this appeal is simple and

straightforward, and effectively boils down to one question: Is there a

triable issue of fact as to whether Appellee The Church of Jesus Christ of

Latter-Day Saints (the “Church”)1 falsely told Appellant James

Huntsman that his annual donations to the Church would not be used to

fund any commercial endeavors, including the development of a shopping

mall? As set forth herein, the answer is undoubtedly “yes,” and thus

there was no basis for the District Court to grant summary judgment to

the Church. Nor was the District Court entitled to weigh the parties’

competing evidence – which it necessarily did in reaching its ruling.

Rather, Mr. Huntsman is entitled to have his fraud claim be heard and

determined by a jury, and thus the District Court’s ruling must be

reversed.




1 Although Mr. Huntsman technically filed his Complaint against the

Corporation of the President of the Church of Jesus Christ of Latter-day
Saints (the entity he gave his fraudulently-obtained money to), that
entity has since been renamed to the Church of Jesus Christ of Latter-
day Saints. 4-ER-669.

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     Simply stated, this case presents a clear “the light was red / the

light was green” scenario, wherein each side has a diametrically-

opposed view of what transpired.

     Mr. Huntsman, on the one hand, adamantly contends (and,

critically, has proffered admissible evidence) that (1) the Church

repeatedly told him that no “tithing” funds (i.e., the money donated by

Church members on an annual basis) would in any way, shape, or form

be used for a commercial purpose, including specifically to develop a

shopping mall in Salt Lake City, and (2) the Church nonetheless

fraudulently used tithing funds to develop the shopping mall and to bail

out a commercial life insurance company. In support of this contention,

Mr. Huntsman has pointed to five specific statements in which the

Church denied using tithing funds for the mall or any other “for-profit

endeavor,” and has further offered up the declaration of a Church

whistleblower who swears (based on personal knowledge) that the

Church did in fact use principal tithing funds to develop the mall and to

bail out a private life insurance company (in stark contradiction of its

representations to Mr. Huntsman).




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     The Church, on the other hand, zealously claims that (1) it only

used the “earnings” realized from the investment of tithing funds (as

opposed to the principal tithing funds themselves) to develop the

shopping mall, and (2) it plainly disclosed this use to Mr. Huntsman. And

in support of this claim, the Church has offered up its own declarant who

(although he was not as intimately involved in the Church’s financial

affairs as Mr. Huntsman’s declarant) contends that only “earnings” on

invested tithing funds were used to develop the mall, and that certain

statements made three decades ago (concerning the creation of a Church

“reserve” fund) somehow put Mr. Huntsman on notice of this use (despite

the fact that development of the mall did not even commence until over

a decade later).

     Of course, since Mr. Huntsman’s evidence and the Church’s

evidence are at direct odds with each other, the resolution of this case

necessarily depends on a subjective determination of which side is telling

the truth. In other words, who is more believable? Mr. Huntsman’s

declarant or the Church’s declarant?

     Such a determination is within the strict province of the trier of fact

(in this case, the jury), and cannot be made by a court on summary



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judgment. And yet, that is precisely what the District Court here did

when it granted summary judgment to the Church. More specifically, the

District Court weighed the evidence and made its own subjective

factual finding that the testimony of Mr. Huntsman’s whistleblower

declarant should somehow be disregarded (supposedly on the basis that

he was only employed by the Church’s investment firm since 2010), while

the testimony of the Church’s declarant should be given credence (even

though he was never even employed by the Church’s investment firm at

all). In doing so, the District Court failed to properly take into account

the sworn testimony of Mr. Huntsman’s declarant that principal tithing

funds were in fact used for a commercial purpose at odds with the

Church’s representations to Mr. Huntsman. Had that critical testimony

(which was in direct conflict with the Church’s testimony) been taken into

account, there would have been no basis to grant summary judgment.

     As set forth herein, and as should become evident to this Court upon

its de novo review of the record, there is an undeniable triable issue of

fact concerning Mr. Huntsman’s fraud claim, and thus this case cannot

be resolved on summary judgment and must proceed forward to trial.

Further, even if there was not a triable issue (and there is), the Church



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has still failed to meet its burden of production as the moving party on

summary judgment (since the Church’s purported “evidence” does not

actually support its position). And finally, because the District Court

misapplied the requisite elements of fraud in granting summary

judgment to the Church (by conflating the requirement of fraudulent

misrepresentation with that of fraudulent concealment), its order cannot

stand as a matter of law.

      Accordingly, Mr. Huntsman respectfully submits that the District

Court’s order should be reversed, and he should be allowed to try his case

before a jury.

II.   JURISDICTIONAL STATEMENT

      Pursuant to Federal Rules of Appellate Procedure (“FRAP”) 28 and

Ninth Circuit Rule 28-2.2, Mr. Huntsman submits the following

Jurisdictional Statement.

      District Court Jurisdiction. This action for fraud against the

Church was filed on March 22, 2021 in the United States District Court

for the Central District of California. 2-ER-252—64. The District Court

had diversity jurisdiction over this action under 28 U.S.C. § 1332(a)

because, at the time of filing, Mr. Huntsman’s claim was between citizens



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of different states and the amount in controversy exceeded the sum of

$75,000. 2-ER-256.

     Appellate Jurisdiction. On September 10, 2021, the District

Court entered an order granting the Church’s Motion for Summary

Judgment pursuant to FRCP 56(a). 1-ER-2—13. This Court has

jurisdiction pursuant to 28 U.S.C. § 1291 to review the District Court’s

order granting the Church’s Motion for Summary Judgment.                      The

District Court’s order is a final order disposing of Mr. Huntsman’s claim

in its entirety. 1-ER-2—13.

     Timeliness of Appeal. On September 24, 2021, Mr. Huntsman

timely filed his Notice of Appeal pursuant to FRAP 4(a)(1)(A). 2-ER-

265—67.

     Finality of Order. This Appeal is from a final order or judgment

of the District Court that disposes of all of Mr. Huntsman’s claims. 1-

ER-2—13.

III. STATEMENT OF ISSUES PRESENTED FOR REVIEW

     The questions presented to this Court are as follows:

     1.    May summary judgment properly be granted where the

           parties staunchly disagree on the material facts and



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           circumstances giving rise to the case, where the parties’

           evidence is in direct conflict, and where the resolution of that

           conflict depends on a credibility determination by the trier of

           fact?

      2.   May summary judgment properly be granted in favor of a

           party in the absence of evidence unambiguously supporting

           that party’s position?

      3.   Is the lack of a specific affirmative misrepresentation by a

           party fatal to a fraud claim where that party has nonetheless

           knowingly concealed material facts to the detriment of the

           complaining party?

      As set forth herein (and as a matter of well-settled law), the answer

to all three of these questions is a resounding “no.”

IV.   STATEMENT OF THE CASE

      A.   Relevant Facts

      In an attempt to confuse the issues here and obfuscate the truth

about how it improperly used billions of dollars donated by its

congregation to develop a mall and bail out an insurance company, the

Church set forth a long-winded and hard to follow factual narrative in



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the District Court. Indeed, this narrative was rendered all the more

confusing due to the plethora of substantial redactions made by the

Church to its purported financial “evidence” – which redactions were

ironically premised on the notion that the Church’s own members and

the public at large should be kept in the dark as to how the Church has

used its tax-exempt funds (despite the fact that such secrecy is what gave

rise to the fraud here in the first place).

      However, as set forth below, the facts that actually matter here are

quite simple and straightforward, and do not depend in the least on

redacted financial information or confusing narratives. Those facts are

as follows:

              1.   Mr. Huntsman Gave Millions Of Dollars To The
                   Church In Reliance On Repeated Assurances That
                   His Money Would Only Be Used For Non-
                   Commercial Purposes.

      Mr. Huntsman was born into a family of devout members of the

Church, and likewise spent much of his childhood and adult life as a

devout member, donating his time, energy, money, and resources in

support of the Church’s ostensibly-charitable pursuits throughout the

world. 2-ER-256.




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     Beginning in 1993 (when Mr. Huntsman was 22 years old) and

continuing until 2015 (when he became disillusioned with the Church’s

doctrines, including its support of polygamy and its open disdain for

members of the LGBTQ community), Mr. Huntsman made annual

tithing payments to the Church, which ultimately added up to millions

of dollars. 2-ER-45, 2-ER-256, 4-ER-674. Until he discovered otherwise

in 2019, Mr. Huntsman reasonably believed that these annual tithing

payments had been and were being used by the Church for purely non-

commercial purposes. 2-ER-44—46. In fact, Mr. Huntsman was

repeatedly assured – including through the Church’s Sunday School

manuals, teachings, and conference addresses – that the Church’s use of

tithing funds was restricted to charitable purposes consistent with the

Church’s stated priorities. Id. More specifically, Mr. Huntsman was

assured that his tithing monies would be used to fund missionary work,

member indoctrination, temple work, and other educational and

charitable activities – and nothing else. Id.

     However, as Mr. Huntsman discovered in 2019, the Church had

concealed its true use of tithing funds (both from him and the Church’s

congregation at large). 2-ER-45. Specifically, at issue in this case are the



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Church’s improper use of tithing funds for two purely commercial, non-

charitable purposes: (1) to pay for the commercial development of the

City Creek Mall in Salt Lake City, and (2) to bail out a commercial, for-

profit company called Beneficial Life Insurance. 2-ER-81—82. Such uses

were not only concealed by the Church (until they were publicly divulged

by Church whistleblower David Nielsen in 2019), but obviously ran

counter to the Church’s own representations concerning the use of tithing

funds (which Mr. Huntsman relied upon in making his tithing

payments). 2-ER-44—45, 2-ER-81—82.

           2.    The Church Repeatedly Represented To Mr.
                 Huntsman That Tithing Funds Would Not Be Used
                 To Develop The City Creek Mall.

     On at least five separate occasions beginning in 2003, the Church

specifically represented to Mr. Huntsman (through publicly made

statements) that tithing funds would not be used to develop the City

Creek Mall project.

     First, in April 2003, the president of the Church, Gordon B.

Hinckley – apparently in response to growing public concern about where

the Church was getting its money to develop the commercial City Creek

Mall – made the following statement concerning that project.



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     “I call attention to that which has received much notice in the
     local press. This is our decision to purchase the shopping mall
     property immediately to the south of Temple Square.
     We feel we have a compelling responsibility to protect the
     environment of the Salt Lake Temple. The Church owns most
     of the ground on which this mall stands. The owners of the
     buildings have expressed a desire to sell. The property needs
     very extensive and expensive renovation. We have felt it
     imperative to do something to revitalize this area. But I wish
     to give the entire Church the assurance that tithing
     funds have not and will not be used to acquire this
     property. Nor will they be used in developing it for
     commercial purposes.
     Funds for this have come and will come from those
     commercial entities owned by the Church. These resources,
     together with the earnings of invested reserve funds, will
     accommodate this program.”

2-ER-250 (emphasis added); 2-ER-257.

     Second, at an October 2003 press conference concerning the

development of the City Creek Mall, Presiding Bishop H. David Burton

emphatically reiterated the Church’s promise that tithing funds were not

being used in connection therewith. He stated:

     “None of this money comes from the tithing of our
     faithful members… That is not how we use tithing funds.”

2-ER-257, 3-ER-369—70 (emphasis added).




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     Third, in December 2006, the Church’s official magazine, Ensign,

printed the following statement once again claiming that no tithing funds

would be used in connection with the City Creek Mall:

     “The Church first announced three years ago it was planning
     to redevelop the downtown area to energize the economy of
     the city that houses its headquarters and to bolster the area
     near Temple Square. No tithing funds will be used in the
     redevelopment.”

     2-ER-258, 3-ER-373 (emphasis added).

     Fourth, a March 2007 article published in the Church-owned

newspaper, The Deseret News, yet again reiterated that no tithing funds

were used for the City Creek Mall development project. The article

stated:

     “Money for the project is not coming from LDS Church
     members’ tithing donations. City Creek Center is being
     developed by Property Reserve Inc., the church's real-estate
     development arm, and its money comes from other real-
     estate ventures.

     2-ER-258, 3-ER-523 (emphasis added).

     Fifth, in 2012, Keith B. McMullin (the head of a Church-affiliated

commercial entity known as Deseret Management Corporation)

unequivocally represented (via a quote in The Salt Lake Tribune) that




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tithing funds had not been and would not be used for commercial

purposes. The Tribune reported:

     “McMullin said not one penny of tithing goes to the church’s for-
     profit endeavors. Specifically, the church has said no tithing went
     toward City Creek Center.”

2-ER-258, 3-ER-378.

     As Mr. Huntsman attested in the District Court, he was aware of

all of the above-described representations at or around the time they

were made, and he relied upon them in continuing to make his annual

tithing payments. 2-ER-44, 2-ER-139.

           3.    Contrary To The Church’s Representations And
                 Assurances, And As Witnessed And Attested To By
                 Church Whistleblower David Nielsen, Tithing
                 Funds Were In Fact Used To Develop The City
                 Creek Mall And Bail Out Beneficial Life
                 Insurance.

     From 2010 until 2019, an individual named David Nielsen worked

for a company called Ensign Peak Advisors, Inc. (“EPA”). 2-ER-80. EPA

is an entity that was established by the Church in 1997 to invest money

on its behalf, and was seeded with tithing money from the Church. Id.

     Mr. Nielsen’s position at EPA was as its Senior Portfolio Manager.

Id. As such, he had scores of meetings, both formal and informal, with

EPA’s top brass – including Roger Clarke (EPA’s President and


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Managing Director), Robert Nydegger (EPA’s former Head of Fixed

Income and later its Chief Investment Officer), Richard Willes (EPA’s

Head of Fixed Income), and Michael Connors (EPA’s Head of Fixed

Income). Id.

     On account of his job responsibilities and his meetings and

communications with EPA’s senior leadership, Mr. Nielsen obtained a

detailed and first-hand understanding of how EPA operated its business,

and consequently, how the Church managed its finances. Id.

     Most notably, as Mr. Nielsen attested in the District Court, the

principal tithing money donated by the Church’s members was

commingled with the earnings that EPA had realized thereon, and no

distinction was drawn between those two sources of funds. Id.

Consistent with this commingling, EPA’s senior leadership and other

EPA employees also referred to and revered all EPA funds as “tithing”

money, regardless of whether they were referring to the principal tithing

itself or the earnings on that principal. Id.

     While working at EPA, Mr. Nielsen also learned that EPA’s tithing

funds were administered by a committee known as the Council on the

Disposition of the Tithes (the “Tithing Council”). Id. The Tithing Council,



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as evidenced by its very nomenclature, was responsible for approving

any distributions and/or withdrawals of tithing funds. Id.

     Critically, as Mr. Nielsen attested in the lower court, over a five-

year period, the Tithing Council approved EPA’s withdrawal of

approximately $1.4 billion in tithing funds to pay for the commercial

development of the City Creek Mall – notwithstanding that the Church

was simultaneously assuring its members (including Mr. Huntsman)

that tithing funds were not being used for such a purpose. 2-ER-81.

     As Mr. Nielsen further attested below, in 2009, the Council

likewise approved EPA’s withdrawal of $600 million in tithing funds to

bail out Beneficial Life Insurance – notwithstanding that the Church

was assuring its members (including Mr. Huntsman) that tithing funds

were being used solely for non-commercial purposes. Id.2




2 Curiously, while the Church’s District Court declarant, Paul Rytting,

purported to dispute that tithing funds were used to develop the City
Creek Mall, the Church offered no testimony or evidence disputing that
tithing funds were used to bail out Beneficial Life. 3-ER-532—41. Thus,
Mr. Nielsen’s testimony on this critical point is undisputed.

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           4.     As Witnessed And Attested To By Mr. Nielsen, The
                  Church Was Well-Aware That It Was Deceiving Its
                  Members (And The Public At Large) About The Use
                  Of Tithing Funds.

     As he attested below, Mr. Nielsen attended a meeting in March

2013 led by EPA senior leadership. At that meeting, EPA’s President

Roger Clarke, along with its Chief Investment Officer Robert Nydegger,

gave a presentation in which they described the various ways that EPA

had been distributing its tithing funds – including in connection with

the development of the City Creek Mall and to bail out Beneficial Life

Insurance. Id. In fact, one of the slides from that presentation (which

Mr. Nielsen saved) specifically referenced how principal “investment

reserves” (i.e., not the “earnings” thereon) were withdrawn to pay for the

City Creek Mall and Beneficial Life Insurance. 2-ER-81, 2-ER-85.

     Prior to the March 2013 meeting, Mr. Nielsen and other EPA

employees were well-aware of the Church’s public statements (including

as set forth above) that no tithing funds would be used to develop City

Creek Mall or other for-profit businesses. 2-ER-81—82. Consequently,

after being presented with the truth at the March 2013 meeting – i.e.,

that tithing funds were in fact being used for purely commercial

purposes – Mr. Nielsen pointed out to Mr. Clarke the direct contradiction


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between (1) what the Church was telling the public about its use of

tithing funds, and (2) how the Church was actually using those funds.

Id. Mr. Clarke responded that because the EPA funds distributed for

the benefit of the City Creek Mall and Beneficial Life Insurance were

first funneled through two other Church-affiliated entities (Property

Reserve, Inc. and Deseret Management Corporation), people would not

know that EPA was the source of this funding. Id. Mr. Clarke also

stated to Mr. Nielsen that it was important people should not

know EPA’s role as the source of the funds. 2-ER-82.

     Ultimately, based on the Church’s intentional deception concerning

EPA’s use of tithing funds for City Creek Mall and Beneficial Life, Mr.

Nielsen filed a whistleblower complaint with the Internal Revenue

Service (the “IRS”). While Mr. Nielsen’s complaint is still pending with

the IRS, The Washington Post ran a highly-publicized story about the

complaint in December 2019.3




3 https://www.washingtonpost.com/investigations/mormon-church-has-

misled-members-on-100-billion-tax-exempt-investment-fund-
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           5.     In 2019, After Years Of Donating Money To The
                  Church Under False Pretenses, Mr. Huntsman
                  Finally Learned Of The Church’s Fraud Through
                  Mr. Nielsen’s Whistleblower Complaint.

     In December 2019, Mr. Huntsman learned of the facts contained

in David Nielsen’s IRS Whistleblower Complaint, and realized for the

first time in his life that the Church had deceived him about where his

tithing donations had gone. 2-ER-45. Up until then, he had

understandably believed – based on the Church’s longstanding repeated

representations and teachings – that his tithing donations had been

used for purely non-commercial purposes. 2-ER-45—46.

     Had Mr. Huntsman known the truth, as he ultimately discovered

in 2019 – i.e., that the Church was using his tithings to, among other

things, build a mall and bail out a private, for-profit insurance company

– he never would have made any tithing donations in the first place. 2-

ER-44—45.

     Notably, however, rather than file a public lawsuit, Mr. Huntsman

repeatedly reached out to the Church to attempt to request the return of

his fraudulently-obtained donations and resolve his grievance privately.

2-ER-46—47. These efforts included letters sent to the Church’s

attorneys in December 2020 and February 2021, as well as a conversation


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with Elder Ronald A. Rasband (of the Church’s Quorum of the Twelve

Apostles) on February 28, 2021. 2-ER-46—47, 2-ER-50—78. It was only

after the Church staunchly rebuffed these efforts that Mr. Huntsman

was forced to seek recourse in the court system. 2-ER-47, 2-ER-76—78.

     B.    Procedural History

           1.     Mr. Huntsman’s Complaint For Fraud
     On March 22, 2021, Mr. Huntsman initiated the present lawsuit in

the Central District of California, filing a Complaint for fraud against the

Church. 2-ER-252—64. In short, the Complaint alleges that Mr.

Huntsman was deceived by the Church as to the intended use of his

tithing donations, and that he relied on the Church’s misrepresentations

by paying millions of dollars to the Church that he otherwise would not

have paid but for the Church’s deception. Id., 2-ER-44—45.

     More specifically, Mr. Huntsman contends that (1) the Church

affirmatively misrepresented that tithing funds would not be used to

fund the City Creek Mall or any other “for-profit endeavors”, and (2) the

Church concealed the material fact that tithing funds were used to bail

out Beneficial Life Insurance (in stark derogation of its longtime

assurances to Mr. Huntsman that tithing funds would only be used for

non-commercial purposes). 2-ER-44—45, 2­ER­260—62.

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     As damages, Mr. Huntsman’s Complaint simply seeks the return of

his tithing money which was given to the Church under false pretenses.

2-ER-255, 2-ER-263. The Complaint makes clear that, upon receiving

back that money, Mr. Huntsman will use it to benefit organizations and

communities whose members have been marginalized by the Church’s

teachings and doctrines – including charities supporting LGBTQ,

African-American, and women’s rights. 2-ER-255.

           2.     The Church’s Summary Judgment Motion
     On June 28, 2021, only three months after Mr. Huntsman’s

Complaint was filed, and before any discovery was conducted, the District

Court ordered the Church to file an expedited summary judgment motion

for the stated purpose of “testing the waters.” 2-ER-27. The Court’s order

afforded Mr. Huntsman only a single week to oppose what was certain to

be a fact-intensive motion by the Church – thus effectively depriving Mr.

Huntsman of the opportunity to test the facts and evidence proffered by

the Church despite having not yet taken any discovery. 2-ER-30.4




4 At the Church’s request, however, the Court ordered Mr. Huntsman to

sit for an expedited deposition. 2-ER-29. That deposition took place on
July 16, 2021. 2-ER-110.


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      On August 9, 2021, the Church filed its summary judgment motion.

4-ER-663—92. Of relevance here, the Church’s motion was premised

primarily on the purported notion that the Church’s alleged statements

were all true (and thus there could not have been any fraud).5 4-ER-682—

85. More specifically, in what will be referred to herein as the Church’s

“truth” defense, the Church asserted that (1) it had plainly disclosed to

Mr. Huntsman that it was only using the “earnings” on invested tithing

funds (as opposed to the principal tithing funds themselves) to fund the

City Creek Mall, and (2) it had in fact only used those “earnings” to fund

the mall. 4-ER-682—85. Hence, by the Church’s purported logic, when

Mr. Huntsman was repeatedly told that no tithing funds were used to

pay for City Creek Mall, the Church was telling him the truth (since the

Church was supposedly using only the “earnings” realized on the

principal tithings). Id.




5 The Church also raised two additional grounds for summary judgment:

(1) that the First Amendment bars Mr. Huntsman’s claim; and (2) that
no reasonable juror could find that Mr. Huntsman justifiably relied on
the Church’s misrepresentations. 4-ER-670—71. However, since the
District Court ruled in Mr. Huntsman’s favor on both of these grounds,
Mr. Huntsman agrees with the rulings and does not seek to disturb them
on appeal.


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     In support of its “truth” defense, the Church set forth a complex and

confusingly-worded narrative which spanned the time period of 1830

(when the Church was founded) to the present day and which purported

to describe the internal financial workings of numerous Church-affiliated

entities. Of relevance here, the Church claimed as follows:

            That in 1991, President Hinckley announced that a fixed

             percentage of the Church’s “income” would be “set aside” to

             “build reserves” for a possible “rainy day” (2-ER-237), (3-ER-

             346), (3-ER-410), (3-ER-535);

            That Hinckley’s 1991 announcement somehow put Mr.

             Huntsman on notice that the Church was setting up a reserve

             fund comprised solely of tithing monies – even though the

             announcement did not specify that the referenced “income”

             was tithing money (to the contrary, Hinckley referred to the

             existence      of   a    “few     income-producing           business

             properties”), and even though there is no evidence that Mr.

             Huntsman was aware of the announcement (he was only 20

             years old at the time and had not yet started making tithing

             payments) (2-ER-237—238) (2-ER-256) (3-ER-418);



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       That in 1995, President Hinckley announced that “each year

        we put into the reserves of the Church a portion of our annual

        budget” (2-ER-246);

       That the 1995 announcement once again supposedly put Mr.

        Huntsman on notice that the there was a “reserve” fund

        comprised of tithings – even though the announcement, like

        the 1991 announcement, did not in any way indicate that the

        “reserves” came from tithing monies (it merely stated they

        came from the “annual budget”) (2-ER-241—247) (3-ER-418);

       That beginning in 1997, and through a series of complex

        transactions involving numerous Church-affiliated entities

        (including EPA), the Church invested the tithing money in its

        “reserve” fund to generate “earnings” (3-ER-535, 3-ER-542—

        44);

       That it was only the “earnings” on the invested tithing monies

        that were used to develop the City Creek Mall (3-ER-534—

        37);

       That in 2003, when President Hinckley made his statement

        that “the earnings of invested reserve funds” had been used to



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             pay for the City Creek Mall (and that “tithing funds [had] not

             and [would] not be used” for that purpose), he was telling the

             truth (4-ER-682—83); and

            That the Church’s subsequent statements concerning the non-

             use of tithing funds to pay for City Creek were also truthful,

             since only “earnings” were supposedly used to fund the project

             (6-ER-683).

     Critically missing from the Church’s narrative was any discussion

whatsoever of how Beneficial Life Insurance was bailed out. Rather, the

Church simply disregarded Mr. Huntsman’s contentions on that issue by

claiming that he had not pointed to any specific misrepresentation made

by the Church concerning Beneficial Life. 3-ER-352—54; 3-ER-412; 4-ER-

679. But the Church offered no evidence to refute Mr. Huntsman’s

contention (as supported by documentary evidence) that tithing

money was used to bail out Beneficial Life -- thus implicitly

conceding that tithing funds were in fact used for that improper purpose.

See, e.g., 3-ER-532—41.

     The Church’s summary judgment motion was notably supported by

only a single declaration – from its “Director of Risk Management,” Paul



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Rytting.6 3-ER-532—41. Mr. Rytting’s declaration attached and referred

to numerous highly redacted financial documents, which he claimed (also

through redacted testimony) were somehow demonstrative of how tithing

funds were placed in a reserve fund and then invested (through various

Church-affiliated entities) to create the “earnings” that ultimately paid

for the development of City Creek Mall. 3-ER-542—75, 4-ER-577—662.

     Curiously, however, not a single one of the financial documents

attached to Mr. Rytting’s declaration actually contained the word

“tithing.” Id. Nor did any of the documents specify that the monies used

to pay for the City Creek Mall were in fact “earnings” on invested tithing

funds. Id. Nor did the documents show that “earnings” on invested


6 Contrary to how he held himself out in his declaration, Mr. Rytting was

(and is still) the Church’s long-time attorney and “director of risk
management.” https://www.linkedin.com/in/paul-rytting-5622303b/. 2-
ER-92. As such, his self-described “responsibilities include
administration of the risk management functions and services (safety,
insurance, claims, litigation, contingency planning, etc.) for LDS
Church       operations     in     over      150      countries).”     See
https://www.acc.com/sites/default/files/
resources/vl/public/ProgramMaterial/20099_1.pdf at page 2 (emphasis
added). Id. Of course, none of these responsibilities would appear to
relate to the Church’s internal financial affairs, much less the affairs of
the Church’s financial-arm (where David Nielsen worked and obtained
personal knowledge of the Church’s fraud). Consequently, it is unclear
how Mr. Rytting was even qualified to attest to the matters at issue in
this case. Id.


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tithing funds were kept separate (i.e., not commingled) with principal

tithing funds.7 Id. Rather, all that the documents showed were that

certain Church-related investments (accruing from unspecified sources

of principal) ultimately generated earnings that exceeded the cost of the

City Creek Mall. Id. Of course, such was far from definitive (or even

credible) evidence that the mall was in fact paid for with “earnings” on

“invested tithing funds,” as the Church contended.

           3.    Mr. Huntsman’s Opposition To The Church’s
                 Motion

     On August 16, 2021, only one week after the Church’s motion was

filed, Mr. Huntsman filed his opposition thereto. 2-ER-86—108.

     Because Mr. Huntsman had not yet been afforded the opportunity

to challenge the Church’s highly-redacted evidence though the discovery

process, his opposition was premised on the only evidence that he could

obtain on such short notice – namely, the sworn declaration of Church

whistleblower David Nielsen, as well as an internal Church document

that was submitted to the IRS with Mr. Nielsen’s Whistleblower

Complaint (which, as explained by Mr. Nielson, commemorated the


7 As described above, David Nielson personally witnessed how EPA
commingled principal tithing funds with the earnings thereon. 2-ER-79—
85.

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Church’s use of tithing funds to pay for the City Creek Mall and bail out

Beneficial Life Insurance). 2-ER-79—85. In his declaration, Mr. Nielsen

attested, based on his personal knowledge, as to the Church’s fraud

that he personally witnessed while working at EPA (as already described

in detail above in Sections IV(A)(3)-(4)). Id.

     With respect to the Church’s primary “truth” defense, Mr.

Huntsman’s opposition pointed out that Mr. Nielsen’s declaration was at

direct factual odds with the Church’s purported evidence. 2-ER-99.

Specifically, whereas the Church’s declarant – Mr. Rytting – had attested

that tithing funds were not used to develop the City Creek Mall (and that

only the “earnings” on invested tithing funds were used), Mr. Nielsen

testified to the contrary (i.e., that tithing funds were absolutely used to

develop the mall). 2-ER-79—85. Hence, at a bare minimum, there was a

triable issue of fact – indeed the most material fact (whether tithing

funds were used to develop the mall) – precluding summary judgment.

     Concurrently with his opposition, Mr. Huntsman also filed

evidentiary objections to Mr. Rytting’s declaration, pointing out that Mr.

Rytting lacked the requisite personal knowledge to appropriately testify

as to the Church’s use of tithing funds. 3-ER-423—65. More specifically,



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because Mr. Rytting was merely an attorney employed as the Church’s

“Director of Risk Management,” and because he did not purport to

actually be employed by or affiliated with any of the financial entities

identified in his declaration (i.e., EPA, City Creek Reserve, the

Investment Policy Committee, or Property Reserve, Inc.), he (unlike

David Nielsen, who was actually employed by EPA) could not have

personal knowledge of how the Church paid for the City Creek Mall. 3-

ER-424—25.

           4.     The Church’s Reply Papers
     On August 23, 2021, the Church filed a reply brief in support of its

motion.   3-ER-405—422. While the reply for the most part simply

rehashed the same arguments from the Church’s motion, it was notable

in two particular respects:

     First, the reply was accompanied by a declaration from Roger

Clarke – i.e., the very same individual who, per David Nielsen’s

declaration, had admitted in March 2013 that tithing funds had in fact

been used to develop City Creek Mall and bail out Beneficial Life

Insurance, and who had stated to Mr. Nielsen that it was important

people should not know EPA’s role as the source of the funding. 2-ER-

81—82, 3-ER-298—300.          Critically, however, at no point in his

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declaration did Mr. Clarke dispute or deny the facts concerning

the March 2013 EPA meeting, nor did he deny that tithing funds

were used to develop City Creek Mall and bail out Beneficial Life

Insurance. 3-ER-298—300. Rather, his declaration simply purported to

authenticate the financial documents that had previously been attached

to Paul Rytting’s declaration.8 Id.

     Second,    notwithstanding       the    existence    of   David    Nielsen’s

declaration – which had described in detail how tithing funds were used

to bail out Beneficial Life Insurance – the Church’s reply (like its motion)

did not deny that tithing funds were used for this clearly improper

purpose. 3-ER-405—22. Thus, the reply effectively doubled down on the

Church’s implicit concession that, at least with respect to the bailing out

of Beneficial Life Insurance, tithing funds were used.

           5.     The District Court’s Order Granting Summary
                  Judgment

     On September 10, 2021, the District Court issued an order granting

summary judgment in the Church’s favor. 1-ER-2—13. While the order


8 In this regard, Mr. Clarke’s declaration was effectively an admission

that Mr. Rytting lacked the personal knowledge and foundation to
authenticate the financial documentation upon with the Church had
premised its motion in the first place (and thus, that the Church had
failed to meet its burden of production in its moving papers).

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correctly rejected the Church’s two fallback arguments, it nevertheless

agreed with the Church’s primary “truth” defense – i.e., that the Church

had truthfully represented to Mr. Huntsman that it was only using the

“earnings” from “invested tithing funds” to develop the City Creek Mall.

1-ER-12.

     Critically, in reaching its conclusion, the District Court made a

number of curious and unsupported factual findings. Namely:

      That President Hinckley’s 1991 and 1995 statements had

        somehow specified that the Church’s “reserve” fund would be

        comprised of tithing monies – even though (as discussed above)

        the statements were (at best) ambiguous in that regard. 1-ER-3,

        1-ER-8.

      That Mr. Huntsman was somehow aware of President Hinckley’s

        1991 and 1995 statements and was thus on notice that the

        Church’s “reserve” fund was comprised of tithings – even though

        there was no evidence in the record that he had ever read or

        heard the statements.9 1-ER-8.


9 Mr. Huntsman had simply testified at his deposition that he had read

President Hinckley’s subsequent statements (starting in 2003)
specifically concerning the City Creek Mall. He was not asked about the

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      That the Church’s “evidence” (i.e., Paul Rytting’s declaration and

        the accompanying financial statements) somehow unequivocally

        proved that only the “earnings on invested reserve tithing funds”

        (as opposed to the principal tithing funds) were used to develop

        the City Creek Mall – even though the word “tithing” did not

        appear in a single one of the financial statements, and even

        though Paul Rytting (unlike David Nielsen) lacked personal

        knowledge of how the mall was funded. 1-ER-8—10, 3-ER-542—

        75, 4-ER-577—662.

      That David Nielsen’s testimony concerning the Church’s use of

        tithing funds was non-credible simply because he was not

        employed by EPA until 2010 – even though Mr. Nielsen had

        attested that he was made personally aware (as part of his job at

        EPA) of how the Church had used tithing funds to develop the

        City Creek Mall and bail out Beneficial Life Insurance, and even

        though the Church’s own declarant (Paul Rytting) was never

        employed by EPA at all. 1-ER-10, 2-ER-92.



prior statements in 1991 or 1995. See, e.g., 2-ER-110, 2-ER-122, 2-ER-
139, 2-ER-163.


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     Further, the District Court’s order did not address Mr. Nielsen’s

sworn testimony that EPA had commingled principal tithing funds with

the earnings thereon (thus resulting in the principal funds themselves

being used to develop the City Creek Mall and bail out Beneficial Life

Insurance), nor did the order address Mr. Nielsen’s sworn testimony

concerning the March 2013 EPA meeting (during which Roger Clarke

had effectively admitted that the Church deceived the public about the

use of tithing funds). 2-ER-79—85.               This second omission was

particularly surprising given that Mr. Clarke’s declaration – proffered in

support of the Church’s reply brief – did not deny that the March 2013

meeting had taken place and did not deny that he had made the alleged

statements at that meeting. 3­ER­298—302.

     The District Court also rejected Mr. Huntsman’s contentions

regarding Beneficial Life Insurance on the basis that Mr. Huntsman had

not alleged any specific misrepresentations by the Church on that topic.

1-ER-12—13. In doing so, the District Court necessarily weighed the

evidence and overlooked/disregarded (1) Mr. Huntsman’s testimony that

he was repeatedly assured tithing funds would only be used for non-

commercial purposes (which would obviously not include the bail out of a



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commercial insurance company) (2-ER-44—45), (2-ER-257), and (2) the

Church’s unequivocal representation in 2012 (as quoted in the Salt Lake

Tribute) that “not one penny of tithing goes to the church's for-profit

endeavors.” 2-ER-258, 3-ER-378.

V.   STANDARD OF REVIEW

     A district court’s grant of summary judgment is reviewed de novo.

Mull for Mull v. Motion Picture Indus. Health Plan, 865 F.3d 1207, 1209

(9th Cir. 2017). This Court must “determine, viewing the evidence in the

light most favorable to the nonmoving party [i.e., Mr. Huntsman],

whether there are any genuine issues of material fact and whether

the district court correctly applied the relevant substantive law.” Suzuki

Motor Corp. v. Consumers Union of U.S., Inc., 330 F.3d 1110, 1131–32

(9th Cir. 2003) (emphasis added).

     In reviewing the District Court’s decision, this Court “does not

weigh the evidence or determine the truth of the matter, but only

determines whether there is a genuine issue for trial.” Balint v. Carson

City, Nev., 180 F.3d 1047, 1054 (9th Cir. 1999) (emphasis added). The

substantive law at issue – in this case fraud – will identify which facts

are material. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).



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A dispute about a material fact is genuine, and summary judgment is

inappropriate, where the “evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Ibid. Importantly, “at the

summary judgment stage, the judge's function is not himself to weigh the

evidence and determine the truth of the matter but to determine whether

there is a genuine issue for trial.” Id. at 249.

VI.   ARGUMENT

      A.    There Is Undeniably A Triable Issue Of Fact Here As To
            Whether The Church Mispresented Its Use Of Tithing
            Funds, And Thus Summary Judgment Was Improper

      Looking past the Church’s efforts to confuse and complicate the

issues in this case, the core dispute here actually boils down to nothing

more than the following simple question: Did the Church use tithing

funds to develop the City Creek Mall and bail out Beneficial Life

Insurance notwithstanding its repeated representations that tithing

funds were not used for such non-charitable purposes? If the answer is

yes (which it is), Mr. Huntsman wins the case. If the answer is no (as

the Church has misled its members and the District Court to believe),

Mr. Huntsman loses.




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     Critically, with respect to this core question, there was

unmistakably a triable issue of fact before the District Court which

precluded summary judgment. More specifically, while the Church’s

summary judgment motion relied entirely upon the sworn declaration of

its “Director of Risk Management,” Paul Rytting – who attested (albeit

in the most confusing and long-winded way possible) that only the

“earnings” on invested tithing funds were used to develop the City Creek

Mall – Mr. Huntsman proffered the sworn declaration of former EPA

employee David Nielsen – who attested based on personal knowledge

that principal tithing funds (i.e., not just the “earnings” thereon) were

used by EPA to fund the City Creek Mall and bail out Beneficial Life

Insurance. Compare 2-ER-79—85 with 3-ER-532—41. In fact, Mr.

Nielsen testified in his declaration that (1) at least 1.4 billion dollars in

tithing funds were used by EPA in a five-year period to develop the City

Creek Mall, and (2) at least 600 million dollars in tithing funds were

used in 2009 to bail out Beneficial Life Insurance. 2-ER-81. Moreover,

Mr. Nielsen further attested as to how the Church was well-aware that

its actions were in direct contravention of the representations that it had




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made to the public, and yet intentionally concealed those actions from

the public so that the public would not know the truth. 2-ER-81—82.

     Simply put, the parties’ dueling evidentiary declarations in the

District Court created a literal “he said, he said” situation that could not

be resolved on summary judgment.            Rather, the trier of fact would

ultimately need to determine whether Mr. Rytting or Mr. Nielsen was

telling the truth about the use (or non-use) of tithing funds in connection

with the City Creek Mall.

     Nonetheless, in granting summary judgment to the Church, the

District Court improperly weighed the parties’ respective evidence and

concluded (albeit, erroneously) that Mr. Rytting’s declaration was

somehow more credible than Mr. Nielsen’s. 1-ER-2—13. Indeed, this

weighing of evidence is perhaps most apparent from the fact that the

District Court discounted Mr. Nielsen’s testimony concerning EPA’s use

of tithing funds because he “did not begin working at EPA until 2010,”

while at the same time giving credence to Mr. Rytting’s testimony

concerning EPA’s purported non-use of tithing funds – even though Mr.

Rytting never worked for EPA at all. 1-ER-10. Stated otherwise, the

District Court made a subjective determination that Mr. Rytting was to



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be believed whereas Mr. Nielsen was not. Such was not an appropriate

determination on summary judgment.

     To be clear, this is not a case where both sides agreed on what

happened and the District Court simply had to apply the law to

undisputed facts. Rather, in this instance, both sides proffered

diametrically opposed versions of the fundamental facts concerning

the Church’s use (or alleged non-use) of tithing funds, and the District

Court made a subjective finding as to which version was correct.

     In sum, because there was (at a minimum) a triable issue of

material fact as to whether principal tithing funds (as opposed to only

the “earnings” thereon) were used to develop the City Creek Mall, there

was no basis for the District Court to grant summary judgment to the

Church. For this reason alone, the District Court’s order should be

reversed.

     B.     In Any Event, The Church’s “Truth” Defense Is
            Unsupported By The Evidence

     Even assuming that David Nielsen’s declaration did not exist to

create a triable issue of material fact here (it does), the Church’s “truth”

theory of defense – i.e., that it honestly represented to Mr. Huntsman

that only “earnings” on invested tithing funds would be used to fund the


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City Creek Mall – is in any event unsupported by the record, and thus

legally untenable on summary judgment. See Nissan Fire & Marine Ins.

Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000) (the party

moving for summary judgment has the initial burden of production, and

must therefore “either produce evidence negating an essential element

of the nonmoving party's claim or defense or show that the nonmoving

party does not have enough evidence of an essential element to carry its

ultimate burden of persuasion at trial”).

     First, nothing in the record shows that the Church ever made it

clear to Mr. Huntsman that its “reserve” fund would be comprised solely

of tithing monies. Although the Church points to President Hinckley’s

1991 and 1995 announcements as evidence of this supposed disclosure,

those statements were, at best, ambiguous as to the source of the

“reserve” monies.

     In the 1991 announcement, Hinckley stated that a fixed

percentage of the Church’s “income” would be “set aside” to “build

reserves” for a possible “rainy day,” but he did not specify where the

“income” for the “reserves” would actually come from. 2-ER-237. To be

clear, the announcement merely purported to describe, generally, how



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the Church spent all of its funds, not just tithing. See Id. (“[E]ighteen

men-the Presidency, the Twelve, and the Presiding Bishopric-constitute

the Council on the Disposition of the Tithes. What might be regarded as

executive committees of this larger council include the Budget

Committee and the Appropriations Committee. The expenditure of all

Church funds comes under the purview of these bodies.”) (emphasis

added).   And it was in the context of this general discussion that

Hinckley stated: “In the financial operations of the Church, we have

observed two basic and fixed principles: One, the Church will live within

its means. It will not spend more than it receives. Two, a fixed

percentage of the income will be set aside to build reserves against what

might be called a possible ‘rainy day.’” Id. Critically, the 1991

announcement did not specify that the referenced “income” was coming

from tithing monies. To the contrary, Hinckley actually indicated that

the Church’s “income” was generated by sources other than just tithing,

stating: “We have a few income-producing business properties.” 2-

ER-238.

     Nor did Hinckley’s subsequent 1995 announcement clarify that the

Church’s “reserve” fund was made up of tithing monies. To the contrary,



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Hinckley merely stated: “Not only are we determined to live within the

means of the Church, but each year we put into the reserves of the

Church a portion of our annual budget.” 2-ER-246. But he notably did

not state that the referenced “budget” was comprised in whole or in part

by tithing funds.

     Hence, there is no support in the record for the proposition that the

Church ever disclosed tithing monies as the purported source of its

“reserve” fund.

     Second,      even   assuming      that    Hinckley’s     1991     or     1995

announcements had drawn a cognizable connection between tithing

funds and the Church’s “reserve” (they did not), there is no evidence in

the record that Mr. Huntsman was himself aware of those

announcements. More specifically, while Mr. Huntsman testified at his

deposition that he was aware of the five fraudulent statements at issue

in this case – beginning with Hinckley’s 2003 statement concerning City

Creek Mall (2-ER-44, 2-ER-139) – Mr. Huntsman never admitted to

knowledge of the 1991 or 1995 announcements (nor was he even asked

about those announcements at his deposition). Nor was the Church able




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to point to any such admission by Mr. Huntsman in its summary

judgment papers.10

     And yet, despite the lack of any evidence (1) showing that Hinckley

unequivocally disclosed in 1991 or 1995 that tithing monies were the

source of the Church’s “reserve” fund, or (2) showing that Mr. Huntsman

was even aware of Hinckley’s 1991 and 1995 announcements, the

Church brazenly claimed in the District Court that Mr. Huntsman must

have understood Hinckley’s 2003 statement – i.e., that “earnings of

invested reserve funds” were being used to fund the City Creek Mall –

to mean that the Church was using earnings from invested tithing funds.

4-ER-683. To the contrary, such a claim is grounded in nothing more

than speculation and conjecture.

     Third, even assuming that the Church had actually disclosed to

Mr. Huntsman that it would be using the “earnings” from invested

tithing monies to fund the City Creek Mall (it did not), there is no


10 To this point, while the Church contended in its reply brief that Mr.

Huntsman “would have read President Hinckley’s 1991 and 1995
addresses explaining how the Church would set aside some of his
donations to create a reserve,” the only evidence cited for this proposition
was the announcements themselves. 3-ER-310—12, 3-ER-418. The
Church did not (and could not) cite any testimony by Mr. Huntsman
showing that he was actually aware of the announcements.

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credible evidence that such “earnings” (as opposed to the principal

tithing funds themselves) were actually used for that purpose. To the

contrary, the Church’s purported (and highly redacted) financial

statements are completely unclear as to the source and use of the money

reflected therein.    For example, while the District Court relied on

Exhibit 3 to Paul Rytting’s declaration as purported evidence that “EPA

was granted [REDACTED] in reserve tithing funds” in 1997 (1-ER-8)

Exhibit 3 actually says no such thing. 3-ER-542—44. Nor does Mr.

Rytting’s declaration describe Exhibit 3 as reflecting a grant of “reserve

tithing funds.” It simply asserts that the Church gave an initial grant

to EPA, without specifying the source of the granted sums. 3-ER-535.

     It further bears noting that not a single one of the financial

documents proffered by the Church even contains the word “tithing.”11

3-ER-542—75, 4-ER-577—662. And since Mr. Rytting (unlike Mr.

Nielsen) was never actually employed by EPA, he was in no position to

credibly attest to what funds were or were not used by EPA for City

Creek. Compare 2-ER-80 with 3-ER-533.               Thus, while the Church




11 In this regard, the Church’s financials are far more notable for what is

missing than what is actually contained therein.

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contended in the District Court that its financial documents showed how

earnings on invested tithing funds were used to develop the City Creek

Mall, the documents merely showed how unspecified funds were moved

around between various entities. 3-ER-535—41.

     In sum, there is no credible evidentiary support in the record for

the Church’s “truth” defense, and thus there was no cognizable basis for

the District Court to grant summary judgment to the Church.

     C.    In The Absence Of A Proper Disclosure To Mr.
           Huntsman, The Church’s Use Of “Earnings” On
           Invested Tithing Funds To Develop The City Creek
           Mall Would Still Be Fraudulent

     As discussed above, there is no evidence in the record that the

Church ever made clear to Mr. Huntsman that it would be using the

“earnings” on invested tithing funds to develop the City Creek Mall.12

Thus, in the absence of such a disclosure, whether principal tithing

funds or earnings thereon were used for the City Creek Mall is a

distinction without a difference – as in either scenario tithing funds were

still technically “used” to develop the commercial mall project.


12 And in any event, Mr. Nielsen attested that EPA commingled those

“earnings” with the principal tithing funds, resulting in the principal
itself being used for the City Creek project – a use which ran directly
counter to the Church’s repeated representations that no tithing funds
would be used for that purpose. 2-ER-80.

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     Indeed, it has long been a maxim of Anglo-American law that

“interest follows the principal as the shadow does the substance.” In re

Beckman, 14 A.2d 581, 583 (1940). As explained by our Supreme Court:

“The rule that ‘interest follows principal’ has been established under

English common law since at least the mid-1700's.             Not surprisingly,

this rule has become firmly embedded in the common law of the various

States.” (internal citations omitted). See Phillips v. Washington Legal

Found., 524 U.S. 156, 165 (1998).

     Here, but for the tithings given to the Church by Mr. Huntsman

and others under the pretense that their money would be used solely for

charitable purposes, there would have been no “earnings” to pay for the

development of the City Creek Mall or bail out Beneficial Life Insurance.

Stated otherwise, even under the Church’s unsupported version of the

facts, tithing monies were still “used” for a commercial purpose, since

those monies were a necessary component of the ultimate funding of the

City Creek Mall.

     Thus, because Mr. Huntsman was under the reasonable

impression that tithing funds would not in any way, shape, or form be

used for a commercial purpose, the Church’s purported use of the



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“earnings” on invested tithing funds for a commercial purpose would

have in and of itself been fraudulent.

     D.    The Lack Of A Specific Affirmative Misrepresentation
           Is Not Fatal To Mr. Huntsman’s Claim Concerning
           Beneficial Life Insurance

     Critically, the Church proffered no evidence in the District Court

refuting Mr. Huntsman’s claim concerning Beneficial Life Insurance.

More specifically, whereas David Nielsen unequivocally attested, based

on his personal knowledge, that $600 million in tithing funds was used

to bail out Beneficial Life Insurance, the Church did not provide any

contrary evidence. 2-ER-81—82. Thus, the Church effectively conceded

that tithing funds were in fact used for the improper purpose of bailing

out a private insurance company.

     Rather than disputing that tithing funds were used to bail out

Beneficial Life, the Church merely argued below that Mr. Huntsman had

failed to point to any specific affirmative misrepresentations concerning

Beneficial Life. 4-ER-682. In other words, the Church contended that,

simply because it never specifically denied that tithing funds would be

used to bail out Beneficial Life Insurance, it was not fraudulent to use

tithing funds for that purpose.



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     However, the Church’s position overlooks two critical points:

     First, it is undisputed that in 2012, Keith B. McMullin (the head of

the Church-affiliated entity known as Deseret Management Corporation)

unequivocally stated that tithing funds had not been and would not be

used for commercial purposes. More specifically, as reported by the Salt

Lake Tribune: “McMullin said not one penny of tithing goes to the

church's for-profit endeavors.” 2-ER-258, 3-ER-378. (emphasis added).

Obviously, the use of tithing funds to bail out a commercial life insurance

company would run directly contrary to this representation. Thus, while

Mr. McMullin did not reference Beneficial Life by name, his statement

was nonetheless an affirmative misrepresentation (especially in light of

the fact that the Church has not disputed its use of tithing funds to bail

out Beneficial Life) concerning the Church’s use of tithing funds. For this

reason alone, there was no basis to grant summary judgment to the

Church on Mr. Huntsman’s allegations concerning Beneficial Life.

     Second, it is well-settled that the tort of fraud does not even require

a specific affirmative misrepresentation. Rather, as recognized by the

California   Supreme      Court     (and    by    the   District    Court     here

notwithstanding its ultimate ruling to the contrary), a claim for fraud



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may be premised on a “concealment” or “nondisclosure,” as opposed to

a specific “false representation.” See Small v. Fritz Companies, Inc., 30

Cal. 4th 167, 173 (2003) (“The elements of fraud, which gives rise to the

tort action for deceit, are (a) misrepresentation (false representation,

concealment, or nondisclosure); (b) knowledge of falsity (or

”scienter“); (c) intent to defraud, i.e., to induce reliance; (d) justifiable

reliance; and (e) resulting damage.”); Lazar v. Superior Ct., 12 Cal. 4th

631, 638 (1996) (same); see also 1-ER-5. More specifically, a fraud claim

based on concealment/nondisclosure will lie where (as here) “the

defendant makes representations but fails to disclose additional facts

which materially qualify the facts disclosed, or which render the

disclosure likely to mislead.” Roddenberry v. Roddenberry, 44 Cal. App.

4th 634, 666 (1996).

     Here, given that the Church repeatedly assured its members that

tithing funds were only being used for non-commercial purposes

(including in 2012, when it represented that “not one penny of tithing

goes to the church's for-profit endeavors”) ( 2-ER-258, 3-ER-378), it

undeniably had a duty to disclose any use that would run counter to such

assurances (which the bailout of a private insurance company obviously



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would). To this effect, Mr. Huntsman declared as follows in the District

Court:

     “While it is true that I do not recall any specific statement by

     the Church denying that tithing funds were being used to bail

     out Beneficial Life Insurance, such a denial was unnecessary

     given that I was already assured through the Church’s

     teachings that tithing funds would only be used for

     maintaining        meeting     houses    and    temples,     sustaining

     missionary work, educating members, and other charitable

     endeavors, and I relied on those assurances.

2-ER-44—45. (emphasis added). Likewise, when Mr. Huntsman was

asked at his deposition if he could “point to any statements by Church

leaders that tithing funds would not be used as a loan or other source of

funding for the Beneficial Life Insurance Company,” he responded:

     “I didn’t have to.           I relied on Sunday School manuals,

     conference addresses [and] statements as to what tithing

     would be used for.”

2-ER-163—64. (emphasis added).




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     In sum, the fact that the Church did not specifically deny using

tithing funds to bail out Beneficial Life is not fatal to Mr. Huntsman’s

claim, since the Church had a duty to disclose that it was using tithing

funds for that purpose – and failed to do so. Thus, in the absence of any

evidence from the Church refuting Mr. Nielsen’s sworn testimony that

tithing funds were used bail out Beneficial Life Insurance, there was no

basis for the Court to grant summary judgment to the Church on Mr.

Huntsman’s fraud claim concerning Beneficial Life.

VII. CONCLUSION

     For all the reason discussed above, Mr. Huntsman respectfully

requests that this Court reverse the District Court’s grant of summary

judgment in the Church’s favor and remand this case to the District

Court so that Mr. Huntsman can proceed forward with his fraud claim.



Dated: February 4, 2022       DAVID B. JONELIS
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